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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF MINNESOTA

RODERICK ARNOLD, et al., on behalf                                     Civil File No. 01-2086 DWF/AJB
of themselves and all others similarly
situated,
                                                                        NOTIFICATION OF
                          Plaintiffs,                  CONVENTIONAL FILING OF EXHIBIT N
                                                        TO AFFIDAVIT OF HOLLY S.A. ENG IN
v.                                                     OPPOSITION TO PLAINTIFFS' MOTION
                                                                FOR CLASS CERTIFICATION
CARGILL, INCORPORATED,

                          Defendant.


          This document is a place holder for the following item(s) which are filed in conventional

or physical form with the Clerk's Office:

          EXHIBIT N TO AFFIDAVIT OF HOLLY S.A. ENG IN OPPOSITION TO

PLAINTIFFS' MOTION FOR CLASS CERTIFICATION

          If you are a participant in this case, this filing will be served upon you in conventional

format.

          This filing was not e-filed for the following reason(s):

          Voluminous Document* (Document number of order granting leave to file conventionally: 286 )

          Unable to Scan Documents (PDF file size larger than the e-filing system allows)

          Physical Object (description):

          Non Graphical/Textual Computer File (audio, video, etc.) on CD or other media

          Item Under Seal* (Document number of protective order: 144 )

          Conformance with the Judicial Conference Privacy Policy (General Order 53) (Document
number of redacted version:       )

          Other (description):

* Filing of these items requires Judicial Approval.

This Notice is e-filed as a place holder in ECF for the documents filed conventionally. A copy
of this Notice and a copy of the NEF are filed with the Clerk's Office along with the
conventionally filed item(s).
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Dated: August 19, 2004               DORSEY & WHITNEY LLP


                                     s/Holly S.A. Eng
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